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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 DAVID O’DONNELL,                                 §
                                                  §
      Plaintiff,                                  §
                                                  §
 v.                                               §
                                                  §
 AVIS RENT A CAR SYSTEM, LLC;                     §
 AVISBUDGET CAR RENTAL, LLC;                      §          CIVIL NO. 3:19-cv-02687-S
 AVIS BUDGET GROUP, INC.;                         §
 AB CAR RENTAL SERVICES, INC.;                    §
 PV HOLDINGS, INC.; ACE AMERICAN                  §
 INSURANCE COMPANY; AND                           §
 SEDGWICK CLAIMS MANAGEMENT                       §
 SERVICES, INC.                                   §
                                                  §
      Defendants.                                 §

                 PLAINTIFF’S MOTION TO COMPEL DISCOVERY
           (DEPOSITION TESTIMONY, PRODUCTION OF DOCUMENTS AND
                         INTERROGATORY ANSWERS)

TO THE HONORABLE COURT:

         Comes now Plaintiff who files this Motion to Compel Discovery from Defendants and their

witness Amber Keever (witness produced on behalf of Defendant Sedgwick Claims Management

Services, Inc.) and in support thereof would show as follows:

                              BACKGROUND INFORMATION

         This is a suit to collect a Two Million Dollar judgment in Cause No. 3:17-CV-1922-S-BK

(hereinafter the underlying suit). Plaintiff obtained a Turnover Order (Doc. #94) (Appendix 1) in

the underlying suit of any and all potential causes of action which the judgment-debtor (Juan Pablo

Zavala Diaz hereinafter referred to as Zavala Diaz) had against these Defendants. This would

necessarily include claims for failure to provide a defense in the underlying suit and failure to

indemnify or pay the judgment. These causes of action are well established under Texas law. It



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is clear that Defendants’ strategy in this case is that they alone get to identify the issues at bar and

what is relevant to those issues and without Court interference they will not produce what is

obviously relevant and discoverable information.

        Defendants incorrectly assert that the only issue in this case is whether Zavala Diaz

delivered suit papers to them and demanded a defense. (See Joint Status report at pages 3, 7, 10,

16, 24, 25). The Texas Supreme Court has held that failure to deliver suit papers and demand a

defense can defeat the duty to defend and indemnify where the policy has such a requirement.

National Union Fire Ins. v. Crocker, 246 S.W.3d 603, (Tex. 2008). Defendants twist and distort

this holding to extend it to cases where there is no such contractual requirement. The Avis rental

contract and purchase agreement for additional liability insurance (ALI) signed by Zavala Diaz

have no such requirement for the delivery of suit papers and demand for a defense. (Doc 18,

A2(a)(b)A4) (Appendix 2).

        Consequently, Defendants are wrong about what the issue is in this case and therefore,

wrong about what is relevant. Federal Rule of Civil Procedure 26(b)(1) states that a party “may

obtain discovery regarding any non-privileged matter that is relevant to any party’s claim or

defense.” “Relevance” is an exceedingly low standard. It includes “any matter that bears on, or

that reasonably could lead to other material that could bear on, any issue that is or may be in the

case.” Merrill v. Waffle House, Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005). Issues that are

definitely in the case are:

            1. Whether Defendants wrongfully denied Zavala Diaz a defense in the underlying
               litigation; (considering that there is no such contractual requirement for delivery of
               suit papers)
            2. Whether Defendants wrongfully denied indemnity to Zavala Diaz in refusing to pay
               the underlying judgment.

        Issues that may be in the case are:




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           1. Whether Defendants acted in bad faith in denying Zavala Diaz a defense when they
              had actual notice of the suit and service of same;
           2. Whether Defendants acted in bad faith in denying Zavala Diaz indemnity by
              refusing to pay the underlying judgment;
           3. Whether Defendants acted in bad faith by refusing to settle the claim against Zavala
              Diaz when his liability had become reasonably clear.

       Bad faith litigation is alive and well in Texas. United States Tex. Lloyds Co. v. Menchaca,

545 S.W.3d 479 (Tex. 2018), Universe Life Ins. Co. v. Giles , 950 S.W.2d 48, 56 (Tex. 1997),

TEX. INS. CODE § 541.151. Plaintiff should be allowed discovery into matters relevant to

whether additional causes of action exist without resort to an additional lawsuit. Even privileged

materials may be discoverable where substantial need for the material exists and the party seeking

discovery has an undue hardship in obtaining the information from any other source. S.E.C. v.

Brady, 238 F.R.D. 429, 443 (N.D. Tex. 2006).

       Plaintiff has substantial need for the discovery at issue because:

                  1. Zavala Diaz appears to be a foreign national whose specific whereabouts

                      are unknown;

                  2. Defendants are the only known parties to any interaction with Zavala Diaz;

                  3. Defendants are the only known parties with access to litigation guidelines,

                      claims handling manuals or claims file pertinent to Zavala Diaz;

                  4. Such documents are relevant to whether Defendants acted in compliance

                      with their own established guidelines for handling catastrophic claims such

                      as this one;

                  5. Deviation from their own established guidelines for catastrophic claims

                      handling is relevant to potential claims for bad faith which Plaintiff now

                      owns by virtue of the Turnover Order;




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                  6. Loss reserves are relevant as to whether Defendants acted in accordance

                      with their own litigation guidelines and whether they acted in bad faith in

                      failing to settle claims against Zavala Diaz or at least provide him a defense.

                      No Texas Court has held that loss reserves are not discoverable and one

                      court remanded the issue to the trial Court for decision. State Farm Mut.

                      Auto. Ins. Co. v. Engelke, 824 S.W.2d 747 (Tex. App. 1992).

       Plaintiff moves this Court under Rule 37(a) of the Federal Rules of Civil Procedure for an

order compelling Defendants to produce documents in response to his Requests for Production of

Documents, his Subpoena Duces Tecum to the Deposition Notice of Amber Keever and answers

to deposition questions and answers to Interrogatories. (Appendix 3 and 4).

       1. This case currently has no trial setting; however, several Defendants have moved for

           Summary Judgment asserting that, as non-signatories to the Rental Agreement that is

           central to Plaintiff’s case, Plaintiff has no standing to pursue breach of contract

           damages against them [Dkt. 44]. Defendants are wrong since Plaintiff obtained a post-

           judgment Turnover Order which transferred any causes of action belonging to Juan

           Pablo Zavala Diaz to Plaintiff (Appendix 1).

       2. Plaintiff deposed Amber Keever, a witness (and affiant in support of summary

           judgment) identified by Defendants as having knowledge of relevant facts, on August

           28, 2020. During the course of the deposition, it became clear that Keever had

           refreshed her memory with documents consisting of her claim file. The following

           excerpt clearly reveals that Keever reviewed the claims file to refresh her recollection.

           Keever, Amber (8/28/2020), (Page 8:8 to 8:13)
            9    Q. Okay. What have you done to prepare for your
           10 deposition today?
           11    A. Just reviewed the file because it's an old one



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          12 and it's been around for a long time, so I just tried to
          13 refresh my memory.
             (Appendix 5)

          However, Keever and her defense attorneys refused to produce the claim file in

          question. (List of Claim File Records-Second Amended, Appendix 6).

      3. Pursuant to the Court’s Standing Order (Doc. 59), the parties have had several

          conferences and Exhibit 1 is Plaintiff’s letter outlining the discovery disputes and legal

          authorities relied upon herein. The Joint Status Report required by the Standing Order

          is attached hereto as Exhibit 2.

      4. As outlined in Exhibit 1, Plaintiff seeks to compel the following:

             a) Amber Keever testimony and documents as follows: Zavala Diaz claims file

                 (Page 8:8 to 8:13), letter to ACE reporting traumatic brain injury (Pages 16:4

                 to 17:10), correspondence Keever received from ACE (Pages 21:8 to 22:20),

                 litigation guidelines (Pages 21:8 to 22:20), amount of reserves for Zavala Diaz

                 claim (Page 119:9 to 119:20), Zavala Diaz claims file, who she communicated

                 with at ACE (Pages 23:17 to 25:10), Zavala claims file, who made coverage

                 decisions (Page 27:3 to 27:14), litigation guidelines (Page 28:7 to 28:15),

                 litigation guidelines (Page 29:10 to 29:19), portions of claim file to which no

                 privilege asserted (Page 29:10 to 29:19), litigation guidelines (Page 45:1 to

                 45:7), Zavala Diaz claims file (Page 45:11 to 45:14), Zavala Diaz claims file

                 (Pages 45:20 to 46:5), Zavala Diaz claims file (additional documents pertaining

                 to coverage) (Page 54:6 to 54:14), litigation guidelines (witness does not

                 remember whether this is the only claim ever denied for not delivering suit

                 papers) (Page 69:2 to 69:12),        Zavala Diaz claims file (pertinent to his




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                   cooperation) (Page 84:18 to 84:25), Zavala Diaz claims file (attempts by Keever

                   and others to reach him) (Page 84:18 to 84:25), Zavala Diaz claims file (Pages

                   87:21 to 88:9), Zavala Diaz claims file (Page 90:4 to 90:13), Zavala Diaz claims

                   file (did ACE know Zavala Diaz had been served but did not have a lawyer)

                   (Pages 94:13 to 95:4), Zavala Diaz claims file)(whether notice of lawsuit was

                   communicated, by and to whom) (Page 95:5 to 95:24), Avis lawyer states: MS.

                   KNIGHT: “The key issue in this lawsuit is whether Zavala Diaz tendered

                   the defense of the lawsuit to Sedgwick, it's not whether ACE knew about a

                   lawsuit.” Without access to the claims file, it is impossible for Plaintiff to

                   determine whether Zavala Diaz (a foreign national) ever even knew about the

                   existence of Sedgwick, much less an alleged duty to deliver suit papers to it.

                   Plaintiff has further need for the Avis claims file on Zavala Diaz as follows:

                        Keever testified that the claims file contains “one of the things on there is -
                   - is, you know, different policies from ACE and different rental jackets from
                   various states, et cetera.” (Pages 96:23 to 97:7)

   Do these policies and rental jackets even say that renters like Zavala Diaz must deliver suit

papers to receive a defense? Plaintiff has a substantial hardship (if not impossible task) to obtain

this information from any other source. Defendants failed to point out with any specificity in the

Joint Status Report how this information might be otherwise obtainable.

   Keever was unable to positively aver that Zavala Diaz failed to contact ACE Insurance Co.,

deliver the suit papers to ACE or demand a defense from ACE. Keever Depo, 13:6-14; 26:1-21;

79:17-80:14; 133:11-23; 154:21-155:4; 155:24-156:6; 172:1-173:22. Without the claims file

which Keever admittedly reviewed to refresh her memory, it is impossible for Plaintiff to establish

that Zavala Diaz complied with some unwritten requirement to deliver the suit papers for a defense.




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According to Defendants, this is the only obstacle to payment and resolution of the suit. It’s an

obstacle superimposed by Defendants, one not found in the rental agreement, insurance policy or

Texas law. But it is clearly relevant to potential claims for breach of the duty of good faith and

fair dealing. Republic Ins. Co. v. Stoker , 903 S.W.2d 338, 340 (Tex. 1995).

         Plaintiff has substantial need for the claims file because he does not know what all it

contains which may bear on Defendants’ obligations to indemnify Zavala Diaz and there is no

other means of obtaining the information. (Keever depo Pages 149:11 to 150:3), Among the

discoverable items denied to Plaintiff include: Keever claims that Avis has never been accused of

breaching an indemnity obligation on any of her claims (witness credibility)(Keever Pages 152:18

to 154:6), the identity of the software used by the witness in adjusting claims and claim file notes

about coverage (Pages 158:14 to 163:17), five page letter in claims file discussing coverage dated

2/9/2015, less than a month after the wreck (Pages 165:12 to 166:17), litigation guidelines (other

persons with knowledge, whether departure from guidelines amounts to bad faith ) (Pages 183:23

to 189:13), and Zavala Diaz’ claims file (whether anyone tried to contact him in his native country

of Spain or if he contacted ACE) (Pages 191:8 to 195:20).

         Virtually the entire claims file will reflect on Keever’s credibility as a witness and there

are obvious portions of the claims file which reflect on coverage for the judgment against Zavala

Diaz.

                 b) Interrogatory numbers and any other objections which we find inappropriate:

        11. State the date upon which you first anticipated litigation against you for collection of
        Plaintiff’s judgment against Zavala Diaz and how said date was determined.

        ANSWER:
        Defendant objects to this request as irrelevant to any party’s claim or defense and as not
        proportional to the needs of the case. Defendant claims the attorney-client privilege and
        non-core work product privilege. Subject to and without waiving the foregoing objection,
        as set forth in the deposition testimony of Amber Keever, in response to Plaintiff’s counsel’s


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     letter of representation dated January 22, 2015, a claim was opened on or about January
     26, 2015 and litigation was anticipated at that time and has been ongoing since that time.
     Defendant’s amended answer fails to address the date this collection suit was anticipated

     and remains unanswered (Appendix 7).

     14. State the date that liability for Plaintiff’s claims became reasonably clear and the facts
         which support same.

     ANSWER:
     Defendant objects to this interrogatory as irrelevant since the date of any liability analysis
     has no bearing on whether the renter complied with the terms of the ALI Policy and is
     irrelevant to any party’s claim or defense and as not proportional to the needs of the case.
     Defendant further objects to this interrogatory to the extent it assumes that liability for
     Plaintiff’s claims is reasonably clear.

     18. Describe the amount of reserves established for Plaintiff’s claim and any changes made
         thereto and the reasons for such changes.

     ANSWER:
     Defendant claims the non-core work product privilege. Defendant objects to this
     request as irrelevant to any party’s claim or defense and as not proportional to the needs of
     the case.

     19. State the name and address of any Avis customer who purchased ALI coverage and
         was subsequently denied a defense to a lawsuit within the last six years.

     ANSWER:
     Defendant objects to this interrogatory as overly broad and unduly burdensome. Over the
     course of the last six years, Defendant Avis has rented vehicles to many customers
     domestically and worldwide. Any such search, if even possible, would require an enormous
     amount of time and would require a manual search. Defendant objects to this interrogatory
     as irrelevant to any party’s claim or defense and as not proportional to the needs of the case.
     Requests 14, 18 and 19 are relevant to potential bad faith claims and whether Defendants

     acted in compliance with internal policies and procedures or in accordance with their habit

     or routine practice.

     22. State the name and address of any individual involved in the sale of ALI coverage to
         Juan Pablo Zavala Diaz prior to his collision with Plaintiff.




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      ANSWER:
      Defendant objects to this request as irrelevant because the identity of the rental counter
      employee is not relevant to any party’s claim or defense and as not proportional to the
      needs of the case. Defendant objects to this request as unduly burdensome.
This is obviously relevant as to any representations made by Avis to Zavala Diaz, whether they

were fraudulent and the identity of persons with knowledge of same.


       24. State the names and addresses of any Avis’ customers who have made complaints about
           your claims handling procedures involving ALI coverage and whether they resulted in
           communications with the Texas Department of Insurance.

      ANSWER:
      Defendant objects to this request as irrelevant because complaints about claims handling
      procedures on other matters, if any, are not relevant to any party’s claim or defense and the
      request is not proportional to the needs of the case. Defendant objects to this request as
      harassing, overly broad and unduly burdensome. Any such search, if even possible, would
      require an enormous amount of time and a manual search.


      This is relevant to course of conduct, habit and routine under FRE 406.

      10. Second Amended Privilege Log

                  Item 1: Claim file pertaining to Zavala Diaz was reviewed by Keever prior to

                  her deposition to refresh her recollection of a nearly six year old claim; relevant

                  to first party issues of failure to defend and failure to indemnify which Plaintiff

                  owns by virtue of Turnover Order (Appendix 1).

                  Item 2 is critical to our analysis of Defendants’ opinions regarding coverage,

                  whether they acted in accordance with those opinions or whether they acted in

                  bad faith. This is essentially a first party claim, the same as if Zavala Diaz sued

                  Avis. The settlement authority is critical to whether Zavala Diaz should already

                  have a release instead of an unpaid judgment.




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                  Items 5 and 6 are relevant to O’Donnell’s collection efforts and the interrelated

                  obligations of Sedgwick and Ace. Any personal information about other

                  claimants may be redacted.

                  Items 7 and 8 appear highly critical to Plaintiff’s claims and he has substantial

                  need for information such as the results of contact with Zavala Diaz and the

                  respective duties and obligations of the various defendants.

     11. Second Amended List of Claim File Records (Appendix 6).

          For Item 1, FRE 612 controls and federal authorities interpreting same. Keever

          practically quoted that portion of the Rule which allows discovery of the subject claim

          file.

          Keever, Amber (8/28/2020), (Page 8:8 to 8:13)
           9    Q. Okay. What have you done to prepare for your
          10 deposition today?
          11    A. Just reviewed the file because it's an old one
          12 and it's been around for a long time, so I just tried to
          13 refresh my memory.


                  For Item 2, we agree to waive any request for claimants other than Plaintiff.

                  Items 4-7 fall into the FRCP 26(b)(c) exception of substantial need/undue

                  hardship.

     12. Requests for Production, in addition to our issues with claims of attorney-client privilege

         and work product privilege, we take issue with the following additional objections:

    6. Any and all bodily injury claims handling guidelines or manuals utilized by you within
       the last six years.

    RESPONSE: Defendant objects to this Request as vague, nonspecific, unduly burdensome,
    and harassing. Defendant also objects to this Request as irrelevant to any party’s claim or
    defense and because it is not reasonably calculated to lead to the discovery of admissible
    evidence. Specifically, the Request has no bearing on whether Plaintiff is entitled to recover
    under the terms of the Rental Agreement or the ALI Policy. Thus, the requested documents


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    have no value in resolving the issues before the Court.


    7. Any and all internal policies and procedures for adjusting claims involving Defendants’
       customers who are foreign nationals.

    RESPONSE: Defendant objects to this Request as vague, nonspecific, unduly burdensome,
    and harassing. Defendant also objects to this Request as irrelevant to any party’s claim or
    defense and because it is not reasonably calculated to lead to the discovery of admissible
    evidence. Specifically, the Request has no bearing on whether Plaintiff is entitled to recover
    under the terms of the Rental Agreement or the ALI Policy. Thus, the requested documents
    have no value in resolving the issues before the Court.

    8. Any and all reserves established for Plaintiff at any time.

    RESPONSE: Defendant claims the non-core work product privilege. Defendant objects to
    this Request on grounds that it is vague. It is unknown what Plaintiff means by “reserves.”
    Defendant further objects to this Request as irrelevant to any party’s claim or defense and
    because it is not reasonably calculated to lead to the discovery of admissible evidence.
    Specifically, the Request has no bearing on whether Plaintiff is entitled to recover under the
    terms of the Rental Agreement or the ALI Policy. Thus, the requested documents have no
    value in resolving the issues before the Court.

    Requests 6-8 are relevant to potential bad faith and or statutory claims under Texas law.

    9. Any and all reinsurance policies which pertain to Plaintiff’s judgment against Zavala
       Diaz or the present suit against you.

    RESPONSE: Defendant objects to this Request as vague, nonspecific, unduly burdensome,
    and harassing. Defendant also objects to this Request as irrelevant to any party’s claim or
    defense and because it is not reasonably calculated to lead to the discovery of admissible
    evidence. Specifically, the Request has no bearing on whether Plaintiff is entitled to recover
    under the terms of the Rental Agreement or the ALI Policy. Thus, the requested documents
    have no value in resolving the issues before the Court.

    Any and all insurance should be provided, not just what the Defendants deem appropriate.

    10. The claims files of those Avis customers identified in Interrogatory 19 (with personal
        information redacted).

    RESPONSE: Defendant objects to this Request as overbroad and unduly burdensome.
    Defendant also objects to this Request as irrelevant to any party’s claim or defense in that no
    other customer’s experience with ALI coverage bears any relation to the legal and factual
    issues present in this case. Thus, the requested documents have no value in resolving the
    issues before the Court.


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    This request is relevant to determine whether the claim against Zavala Diaz was handled in

    accordance with internal policies and procedures or whether bad faith was involved.


    11. Any and all regulatory and underwriting files which pertain to the ALI provisions in the
        Zavala Diaz rental agreement whether proposed, adopted or otherwise utilized.

    RESPONSE: Defendant objects to this Request as vague, nonspecific, unduly burdensome,
    and harassing. Defendant also objects to this Request as irrelevant to any party’s claim or
    defense and because it is not reasonably calculated to lead to the discovery of admissible
    evidence. Specifically, the Request has no bearing on whether Plaintiff is entitled to recover
    under the terms of the Rental Agreement or the ALI Policy. Thus, the requested documents
    have no value in resolving the issues before the Court.

    This request is relevant as to whether the State of Texas had approved or rejected Avis’

    insurance terms and conditions and if rejected would certainly bear on the issue of Avis’ bad

    faith claims handling.


    12. All electronically stored data which reflect the number and identity of lawsuits filed
        against Avis customers who purchased ALI but were denied a defense.

    RESPONSE: Defendant objects to this Request as vague, unduly burdensome, and
    harassing. Defendant also objects to this Request as irrelevant to any party’s claim or defense
    and because it is not reasonably calculated to lead to the discovery of admissible evidence.
    Specifically, information regarding other lawsuits filed against Avis customers who
    purchased ALI has no bearing on whether Plaintiff is entitled to recover under the terms of
    the Rental Agreement or the ALI Policy. Thus, the requested documents have no value in
    resolving the issues before the Court.

    13. All claim files (with personal information redacted) handled by Amber Keever in which
        an Avis customer purchased ALI but was refused a defense to a lawsuit within the last
        seven years.

    RESPONSE: Defendant objects to this Request as irrelevant to any party’s claim or defense
    and because it is not reasonably calculated to lead to the discovery of admissible evidence.
    Specifically, information regarding other claims handled by Amber Keever has no bearing
    on whether Plaintiff is entitled to recover under the terms of the Rental Agreement or the ALI
    Policy. Thus, the requested documents have no value in resolving the issues before the Court.

    This request directly confronts the credibility of Keever who blatantly claimed that no other


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     file she had ever handled involved allegations of breach of the insuring agreement sold by

     Avis. If false, none of Defendants’ claims may be believed.


      15. Any and all communications with the Texas Department of Insurance seeking approval
          of Avis’ ALI coverage, self-insured certificate or complaints about its claims handling
          practices.

     RESPONSE: Defendant objects to this Request as vague, nonspecific, unduly burdensome,
     and harassing. Defendant also objects to this Request as irrelevant to any party’s claim or
     defense and because it is not reasonably calculated to lead to the discovery of admissible
     evidence. Specifically, the Request has no bearing on whether Plaintiff is entitled to recover
     under the terms of the Rental Agreement or the ALI Policy. Thus, the requested documents
     have no value in resolving the issues before the Court.

This request directly confronts the credibility of Keever who blatantly claimed that no other file

she had ever handled involved allegations of breach of the insuring agreement sold by Avis. It is

also relevant to the issue of bad faith claims handling.

Keever deposition at page 153:
19    Q. Avis has never been accused of breaching a
20 contract or paying damages as a result of breaching a
21 rental agreement?
22    A. Not that I'm aware of. Not on any of my
23 claims.

      16. Any statistics reflecting the number of claims against Defendants’ customers who
          purchased ALI coverage and were denied a defense to a lawsuit.

     RESPONSE: Defendant objects to this Request as vague, nonspecific, unduly burdensome,
     and harassing. Defendant also objects to this Request as irrelevant to any party’s claim or
     defense and because it is not reasonably calculated to lead to the discovery of admissible
     evidence. Specifically, the Request has no bearing on whether Plaintiff is entitled to recover
     under the terms of the Rental Agreement or the ALI Policy. Thus, the requested documents
     have no value in resolving the issues before the Court.

      17. Any and all documents reflecting the drafting history of the Avis rental agreement
          signed by Zavala Diaz and the ALI provisions contained therein.

     RESPONSE: Defendant objects to this Request as unduly burdensome and harassing.
     Defendant also objects to this Request as irrelevant to any party’s claim or defense and
     because it is not reasonably calculated to lead to the discovery of admissible evidence.


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     Specifically, the Request has no bearing on whether Plaintiff is entitled to recover under the
     terms of the Rental Agreement or the ALI Policy. Thus, the requested documents have no
     value in resolving the issues before the Court.
     Requests 17 and 18 are relevant to potential claims for bad faith claims handling and

     statutory violations of sections 542.051-.061 of the Texas Insurance Code known as the

     Prompt Pay Act.

      18. Any and all law firm billing audits pertaining to defense of Plaintiff’s claims.

     RESPONSE: Defendant objects to this Request as vague, overbroad, nonspecific, unduly
     burdensome, and harassing. It is unknown what “law firm” Plaintiff refers to. It is also
     unclear what Plaintiff means by “billing audits.” To the extent Plaintiff seeks such
     information from the law firm of Defendant’s attorneys, Defendant further objects to the
     Request on grounds that it violates the attorney-client privilege and attorney work product
     doctrine. Defendant also objects to this Request as irrelevant to any party’s claim or defense
     and because it is not reasonably calculated to lead to the discovery of admissible evidence.
     Specifically, the Request has no bearing on whether Plaintiff is entitled to recover under the
     terms of the Rental Agreement or the ALI Policy. Thus, the requested documents have no
     value in resolving the issues before the Court.


Law firm billing audits constitute a waiver of attorney-client privilege and are relevant to which

entity is entitled to assert the privilege.

        5. Defendants assert privileges for work product and attorney-client communications.

            (See deposition transcript and Response to Subpoena Duces Tecum and answers to

            discovery). It is well settled that an attorney’s work product and mental impressions

            are protected from discovery. Hickman v. Taylor, 329 U.S. 495, 510 (1947). However,

            raw factual data is not protected by the work product privilege. In re Green Grand

            Jury Proceedings, 492 F.3d 976, 980 (8th Cir. 2007).

        6. Furthermore, upon a showing of good cause, “the court may order discovery of any

            matter relevant to the subject matter involved in the action.” Id.; see also SEC v.

            Amerifirst Funding, Inc., Civ. A. No. 3:07-CV-1188-D, 2008 WL 926587, at *2 (N.D.

            Tex. Apr. 7, 2008) (Fitzwater, J.).


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       7. If a party refuses to disclose discoverable material in accordance with this Rule, Rule

              37(a) of the Federal Rules of Civil Procedure allows an opposing party to move to

              compel disclosure of discoverable materials. The moving party must demonstrate that

              the materials requested are relevant to a party’s claim or defense or will lead to the

              discovery of admissible evidence. See Amerifirst Funding, 2008 WL 926587, at *2.

              The burden then shifts to the nonmoving party to demonstrate “why the discovery is

              irrelevant, overly broad, or unduly burdensome or oppressive, and thus should not be

              permitted.” Abraham v. Alpha Chi Omega, 271 F.R.D. 556, 559 (N.D. Tex. 2010). In

              so doing, the nonmoving party must “[i]n a nonconclusory fashion . . . show specifically

              how each document request is overly broad, burdensome, or oppressive.”               Id.

              (emphases added). The nonmoving party may not satisfy its burden with “a reflexive

              invocation of the same baseless, often abused litany that the requested discovery is

              vague, ambiguous, overly broad, unduly burdensome or that it is neither relevant nor

              reasonably calculated to lead to the discovery of admissible evidence.” Cunningham

              v. Smithkline Beecham, 255 F.R.D. 474, 478 (N.D. Ind. 2009) (quoting Burkybile v.

              Mitsubishi Motors Corp., No. 04 C 4932, 2006 WL 2325506, at *6 (N.D. Ill. Aug. 2,

              2006)).

They are also either admissible or are reasonably calculated to lead to the disclosure of relevant

evidence. See Datapoint Corp. v. Picturetel Corp., No. Civ. A. 3:93-CV-2381D, 1998 WL 25536,

at *2 (N.D. Tex. Jan. 14, 1998) (Fitzwater, J.) (“It is well-settled at common law that evidence of

witness bias or prejudice is admissible evidence.”) (citing United States v. Abel, 469 U.S. 45, 50-

51 (1984)).




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       Defendants make no attempt whatsoever to explain how its numerous general objections

apply to Plaintiff’s individual document requests. The Court should therefore disregard them in

their entirety. See DL v. Dist. of Columbia, 251 F.R.D. 38, 43 (D.D.C. 2008) (overruling party’s

general objections in their entirety when party made no attempt to explain how the objections

applied to specific document requests). Neither Plaintiff nor the Court should be forced to do the

Defendants’ job by speculating as to how the general objections apply to every single one of

Plaintiff’s Requests.

‘A party asserting undue burden typically must present an affidavit or other evidentiary proof of

the time or expense involved in responding to the discovery request.’” SEC v. Brady, 238 F.R.D.

429, 437 (N.D. Tex. 2006) (quoting Waddell & Reed Fin., Inc. v. Torchmark Corp., 222 F.R.D.

450, 454 (D. Kan. 2004), and citing cases).

       Defendants assert attorney-client privilege, work-product protection. They have not,

however, explained how these privileges apply. A party may not simply make a blanket assertion

of privilege giving the Court and opposing parties no basis to evaluate its claim. See United

Investors Life Ins. Co. v. Nationwide Life Ins. Co., 233 F.R.D. 483, 486 (N.D. Miss. 2006)

(“Blanket assertions of a privilege are unacceptable, and the court and other parties must be able

to test the merits of a privilege claim.”) (citing United States v. El Paso Co., 682 F.2d 530, 541

(5th Cir. 1982)). The Court should thus reject these bases for refusing to produce documents.

       Defendants’ reliance on the work-product doctrine is still misplaced because extraordinary

circumstances are still present in this case, because Plaintiff has a compelling need to review

materials that bear heavily on the credibility of the Defendant’ witnesses, and because the

information Plaintiff seeks is simply not available elsewhere. The documents that Plaintiff seeks

are relevant and material to Plaintiff’s attempts to satisfy an unpaid judgment, and are justified by




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his standing as owner of first party claims by virtue of the Court’s Turnover Order. The relevant

matter here – the maintenance of the two investigations by Avis, Sedgwick and Ace coordinated

with HOAF and the relationship between them – also places the conduct of various attorneys at

issue including but not limited to Katherine Knight, and the Defendants should not be able to hide

behind the work-product privilege when the conduct of its personnel undergirds the relevant issue.

See, e.g., Rhone-Poulenc Rorer Inc. v. Home Indem. Co., Civ. No. 88-9752, 1993 WL 106429, at

*3-4 (E.D. Pa. Mar. 30, 1993) (work-product privilege does not protect materials “which concern[]

activities of counsel that are directly at issue”).

        Plaintiff thus has a compelling need for these documents, which bear directly on the

credibility of the Defendants’ key witness – a witness upon whose testimony the entire case may

depend. No substitute evidence can supply equivalent information about the circumstances

surrounding the communications with the judgment debtor Zavala Diaz, and what effect the

investigation may have had on the testimony of Amber Keever. And because the documents are

not available from any source other than directly from the Defendants, Plaintiff would have an

obvious undue hardship finding them elsewhere.          The Court should therefore compel the

production of the documents in question.

        Plaintiff specifically moves to compel three categories of materials: all non-privileged

portions of the Avis/Sedgwick investigative claims file, all documents pertinent to potential claims

for bad faith and/or violations of the Texas Prompt Pay Act and a privilege log that not only lists

the privileged documents in the Avis/Ace/Sedgwick investigative files, but explains the basis for

the Defendants’ assertion of privilege.

        Are Defendants correct that the only issue in the case is whether Zavala Diaz delivered suit

papers and demanded a defense? Nothing in the Avis rental agreement suggests that and Plaintiff




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has a substantial need to review the claims file to make that determination. There is no other

source for such information. Are Defendants wrong and instead guilty of bad faith claims handling

practices? These questions cannot be answered without access to the full investigative claims file.

(with attorney opinions redacted) The claims file and other requested documents are particularly

relevant to the credibility of the Defendants’ key witness, Amber Keever. A quick search of Pacer

reveals that Keever is a repeat witness for Defendants casting doubt on her assertion that none of

her claims ever involved allegations of breach of the insuring agreement sold by Avis. Keever’s

credibility is critical and her willingness to lie for her employer or their customers is in question.

Plaintiff cannot fully assess this situation without access to the full investigative claims file. (with

attorney opinions redacted)

        The requested documents are also either admissible or are reasonably calculated to lead to

the disclosure of relevant evidence. See Datapoint Corp. v. Picturetel Corp., No. Civ. A. 3:93-

CV-2381D, 1998 WL 25536, at *2 (N.D. Tex. Jan. 14, 1998) (Fitzwater, J.) (“It is well-settled at

common law that evidence of witness bias or prejudice is admissible evidence.”) (citing United

States v. Abel, 469 U.S. 45, 50-51 (1984)).

        Defendants make no attempt whatsoever to explain how its numerous general objections

apply to Plaintiff’s individual document requests. The Court should therefore disregard them in

their entirety. See DL v. Dist. of Columbia, 251 F.R.D. 38, 43 (D.D.C. 2008) (overruling party’s

general objections in their entirety when party made no attempt to explain how the objections

applied to specific document requests).

        8. The parties have been unable to reach an amicable resolution to this limited discovery

            issue and request the Court’s intervention.




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       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon submission of this

motion, the court Compel Plaintiff’s document production in Keever’s subpoena duces tecum, the

claims file reviewed by Keever to refresh her memory, the answers to deposition questions,

interrogatories and documents enumerated in Plaintiff’s Requests for Production within thirty days

and for such other and further relief to which he may show himself justly entitled.

                                                     Respectfully submitted,

                                                     /s/ Jay C. English
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                                                     Fax: 972-733-1335
                                                     ATTORNEYS FOR THE PLAINTIFF



                                CERTIFICATE OF SERVICE

        I hereby certify that on December 10, 2020, I electronically filed the foregoing document
with the Clerk of the Court for the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the Court. The electronic case filing system will send a “Notice of
Electronic Filing” to all attorneys of record.


                                                      /s/ Jay C. English
                                                     Jay C. English

                             CERTIFICATE OF CONFERENCE

        I hereby certify that October 28 and 29, 2020, Katherine Knight and Scott Perry conferred
about discovery matters. Progress was made and many Requests for Admission were withdrawn
but the remaining matters still require Court attention. The Joint Status Report further details
efforts to narrow the discovery disputes. Matters upon which no agreement could be reached are
being submitted to the Court for determination.

                                                      /s/ Jay C. English
                                                     Jay C. English



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